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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

                   Case No. 8:21-cv-1919-MSS-TGW
             Criminal Case No. 8:20-cr-00048-MSS-TGW-1

  CHRISTY STANLEY,
  Petitioner,

  v.

  UNITED STATES OF AMERICA,
  Respondent.
  ____________________________/


                    PETITIONER’S REPLY TO REPONSE

        The Petitioner, Christy Stanley, by and through

  undersigned counsel, hereby replies to the Government’s

  Response filed November 3, 2021 (Doc. 5), and states the

  following:

                                  REPLY

        In its Response, the Government correctly argues that

  Petitioner bears the burden of production and persuasion

  for the claims she presented to this Court. Its argument,

  however, that Petitioner was required to demonstrate “plain

  error,” is incorrect.

           In   general,   on   collateral   review   the
           petitioner bears the burden of proof and
           persuasion on each and every aspect of her
           claim … which is a significantly higher hurdle
           than would exist on direct appeal under plain
           error review.
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  (Doc. 5 at 4) (internal citations and quotation marks

  omitted).

         In the case cited by the Government in support of its

  incorrect contention, United States v. Frady, 456 U.S. 152

  (1982), the United States Supreme Court stated the

  opposite: “[The plain error standard of review] is out of

  place when a prisoner launches a collateral attack against

  a conviction…”

        Accordingly, the additional cases cited by the

  Government setting forth the plain error standard are

  inapposite and not appropriate for consideration by this

  Court. The correct standard for ineffective assistance of

  counsel claims is set forth in Strickland v. Washington,

  466 U.S. 668, 687 (1984), wherein the United States Supreme

  Court established a two-prong test for ineffective

  assistance: First, a “defendant must show that counsel’s

  representation fell below an objective standard of

  reasonableness.” Id. 466 U.S. at 688. Second, a defendant

  must make a showing that “there is a reasonable probability

  that, but for counsel’s unprofessional errors, the result

  of the proceedings would have been different.” Id. 466 U.S.

  at 694. Petitioner notes that the Government does later


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  reference the Strickland analysis in its Response. (Doc. 5

  at 5).

        Under the correct standard, Petitioner presented a

  valid ineffectiveness claim, alleging that, but for her

  counsel’s unprofessional failure to present adequate

  mitigation evidence at sentencing, “there is a reasonable

  probability that Petitioner would have received a less-

  severe sanction.” (Doc. 1 at 10 ¶ 40).

        In Ground One, Petitioner asserted that her counsel’s

  failure to present available mitigation evidence resulted

  in a longer sentence than the Court would have otherwise

  imposed. See Glover v. United States, 531 U.S. 198, 203

  (2001) (explaining that whether counsel’s deficient

  performance prejudiced a defendant, “any amount of actual

  jail time has Sixth Amendment significance.”); United

  States v. Reed, 719 F.3d 369, 375 (5th Cir. 2013) (same).

        The question before the Court is whether there is a

  reasonable probability that the outcome of the proceedings

  would have been different had Petitioner’s counsel assisted

  her with gathering and presenting the mitigation evidence

  now before it for consideration.

        In an attached affidavit, Petitioner’s trial counsel

  asserts that counsel explained to her before sentencing


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  that “any and all witnesses she wanted to appear at

  sentencing and speak on her behalf were welcome and anyone

  could write letters of support on her behalf.” This

  statement conflicts with Petitioner’s sworn allegation that

  she told her counsel the witnesses she wanted and asked him

  to assist her in obtaining mitigation evidence, and that

  her counsel neither investigated her proposed mitigation

  evidence, nor presented it at sentencing.

        Counsel also states that Petitioner doing now what she

  “could have done prior to sentencing is of no moment.”

  (Doc. 5 at 17). Counsel apparently feels it was

  Petitioner’s duty to collect and present mitigation to the

  sentencing court.

         Petitioner was entitled, however, under the Sixth

  Amendment of the United States Constitution, to receive the

  assistance of her counsel in the investigation,

  preparation, and presentation of mitigation evidence.

  Counsel failed to do so to Petitioner’s prejudicial

  detriment. Williams v. Taylor, 529 U.S. 362, 371 (2000)

  (holding that counsel’s failure “to discover and present

  this and other significant mitigating evidence was below

  the range expected of reasonable, professional competent

  assistance of counsel.”).


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     Prior counsel also states that Petitioner “should be

     appreciative that this Court did not vary upward and

     impose a longer sentence than what she received.” (Doc. 5

     at 18). Counsel’s adversarial posture toward Petitioner

     is unsurprising, as counsel displayed a degree of

     antipathy toward her on the sentencing record. She has

     simply asserted her constitutional right to effective

     assistance of counsel. Her gratitude, or lack thereof,

     regarding the Court’s sentencing decision is not

     dispositive.

        Petitioner’s claim is not directed at the sentencing

     court. It instead concerns failures of her prior counsel,

     who now urges a conclusion that “the record establishes

     that [Petitioner’s] interests were both protected and

     presented in the best way possible and resulted in her

     receiving a lesser and not a harsher sentence especially

     considering the circumstances.” (Doc. 5 at 18).

        Petitioner respectfully disagrees. Prior counsel does

     not——and cannot——explain how Petitioner’s sentence is

     less severe under the circumstances of this case than it

     would have been if proper mitigation had been presented

     at sentencing. Prior counsel’s statement is speculative

     and should not form the basis of the Court’s decision


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     regarding ineffectiveness.

        Of note: The Eleventh Circuit has declined to adopt a

  per se “’credit counsel in case of conflict rule,’ which

  allows that in any case where the issue comes down to the

  “bare bones testimony” of the defendant against the

  contradicting testimony of counsel, defendant is going to

  lose every time.” Gallego v. U.S., 174 F.3d 1196, 1198-99

  (11th Cir. 1999).

        There are factual conflicts between the statements of

  predecessor counsel and Petitioner that this court should

  resolve through evidentiary hearing proceedings where it

  can receive testimony from both parties and evaluate the

  demeanor and credibility of the respective witnesses before

  rendering judgment.

        In Ground Two, Petitioner has alleged that her counsel

  did not zealously protect her interests at sentencing.

  Counsel made comments at sentencing suggesting that

  Petitioner’s offense, “should not be taken lightly,” and

  that “individuals [had] been harmed,” by her conduct.

  Petitioner also alleged that her counsel asked the Court to

  “send a message to society that crime does not pay.”

        Petitioner acknowledges trial counsel’s duty to

  present an accurate view of facts to a court of law, if


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  contrition was to be expressed, however, or acknowledgement

  of the harm created by her offense, then it was

  Petitioner’s, not counsel’s place, to express those things

  to the Court.

                               CONCLUSION

        WHEREFORE, Petitioner asks that the Court grant her

  Petition, or in the alternative, to order an evidentiary

  hearing regarding her claims for relief.



                               Respectfully submitted,




                               /s/ W. Charles Fletcher
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                        CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the foregoing has been

  electronically served via the CM/ECF system to Assistant

  United States Attorney Rachelle DesVaux Bedke this 2nd day

  of February 2022.




                               /s/ W. Charles Fletcher
                               W. Charles Fletcher, Esq.




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